                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      WINSTON-SALEM DIVISION


FEDERAL TRADE COMMISSION,
STATE OF CALIFORNIA, STATE OF
COLORADO, STATE OF ILLINOIS,
STATE OF INDIANA, STATE OF
IOWA, STATE OF MINNESOTA,
STATE OF NEBRASKA, STATE OF
OREGON, STATE OF TENNESSEE,
STATE OF TEXAS, STATE OF
WASHINGTON, and STATE OF                      Case No. 1:22-cv-00828-TDS-JEP
WISCONSIN,
              Plaintiffs,
       v.
SYNGENTA CROP PROTECTION AG,
SYNGENTA CORPORATION,
SYNGENTA CROP PROTECTION,
LLC, and CORTEVA, INC.,
              Defendants.




IN RE CROP PROTECTION PRODUCTS                Case No: 1:23-md-3062-TDS-JEP
LOYALTY PROGRAM ANTITRUST
LITIGATION



        [PROPOSED] STIPULATED SUPPLEMENTAL SCHEDULING ORDER
                    FOR THIRD PARTY SUBPOENAS

      Following a conference held on October 24, 2024, the Court hereby sets the

following deadlines solely with respect to third parties who have, as of October 24, 2024,

been served with a subpoena duces tecum by plaintiffs in the Government Action

(“Covered Third Parties”):




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           • October 28, 2024: Deadline for plaintiffs in the Government Action (Case

               No. 1:22-cv-00828-TDS-JEP) to (1) provide notice of the identities of the

               Covered Third Parties, and (2) to notice additional subpoenas duces tecum,

               if any, to those Covered Third Parties under Federal Rule of Civil

               Procedure 45(a)(4).

           • November 1, 2024: Deadline for defendants in the above-captioned

               actions to notice additional subpoenas duces tecum to Covered Third

               Parties under Federal Rule of Civil Procedure 45(a)(4).

           • November 15, 2024: Deadline for plaintiffs in the MDL Action (Case No:

               1:23-md-3062-TDS-JEP) to notice additional subpoenas duces tecum to

               Covered Third Parties under Federal Rule of Civil Procedure 45(a)(4).

           • December 2, 2024: Deadline for the parties in the above-captioned

               actions to conclude negotiations with Covered Third Parties regarding

               subpoenas duces tecum.

For good cause shown, the Parties may serve additional subpoenas duces tecum on

Covered Third Parties, and may continue negotiations with Covered Third Parties, after

the deadlines set forth herein.

SO ORDERED.


Dated:                                           _________________________________
                                                 UNITED STATES DISTRICT JUDGE



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